
JUSTICE GRAY
delivered the Opinion of the Court.
¶ 1 Fred Fisher (Fisher) appeals from the order of the Twentieth Judicial District Court, Sanders County, granting State Farm General Insurance Company (State Farm) summary judgment. We affirm.
¶2 The sole issue on appeal is whether the District Court erred in granting summary judgment to State Farm on the basis that Fisher’s Unfair Claims Practices Act (UCPA) claim is barred by the doctrine of res judicata.
BACKGROUND
¶3 In February of 1986, Fisher purchased a homeowner’s insurance policy from State Farm insuring his home, workshop and contents. The policy was in effect in March of 1994, when a fire destroyed Fisher’s workshop and its contents. Fisher submitted a claim to State Farm, claiming over $50,000 in lost personal property. State Farm investigated the claim and paid for a portion of the destroyed property and the building. It denied coverage for the majority of the building’s contents on the basis they were business property exempt from coverage under the policy.
¶4 In March of 1995, Fisher sued State Farm and one if its agents, alleging that State Farm wrongfully denied coverage and requesting damages. Of particular note was Paragraph 13 of the complaint, which alleged that the defendants were “liable ... for damages in*203curred as a result of the subject fire and the denial of coverage on theories of breach of contract, negligence, negligent misrepresentation, fraud, and any other applicable legal theories.” In other words, the complaint expressly alleged both contract and tort claims and also sought to hold State Farm liable for denial of coverage under “any other applicable legal theories.” The complaint sought relief for, inter alia, money due under the insurance policy and “other further relief as the court may deem just and proper.” In the parties’ subsequent pretrial order, one of Fisher’s contentions was set forth in language identical to that quoted above from Paragraph 13 of the complaint. ¶5 In March of 1996, Fisher filed a second action based on State Farm’s denial of coverage for the fire, alleging State Farm knew liability for the claim under the insurance policy was reasonably clear and failed to conduct a reasonable investigation of his claim and to attempt in good faith to effectuate a prompt, fair and equitable settlement. While State Farm apparently knew of the second action, Fisher did not serve the complaint on State Farm.
¶6 In July of 1996, State Farm presented Fisher with a written Rule 68, M.R.Civ.R, offer of judgment on all claims in the original action. Fisher accepted the offer and judgment was entered accordingly.
¶7 Thereafter, Fisher amended his complaint in the second action twice, adding mentions of the original action and judgment thereon, more specifically alleging that State Farm’s actions in failing to investigate and settle his claim violated the UCPA, and requesting punitive — in addition to special and general — damages. Fisher served State Farm with the second amended UCPA complaint on October 16, 1996, and State Farm subsequently filed its answer. As part of its answer, State Farm asserted numerous affirmative defenses, one of which was that the claims made in Fisher’s second amended UCPA complaint were barred by the principles of res judicata as a result of the judgment in the earlier action. Five days later, State Farm moved for summary judgment on res judicata grounds. After briefing and oral argument on the motion, the District Court granted summary judgment to State Farm on the basis that res judicata barred Fisher’s second action. Fisher appeals.
STANDARD OF REVIEW
¶8 This Court reviews a district court’s summary judgment ruling de novo using the same criteria applied by that court. Schmasow v. Native American Center, 1999 MT 49, ¶ 12, 293 Mont. 382, ¶ 12, 978 P.2d 304, ¶ 12 (citation omitted).
*204“The movant must demonstrate that no genuine issues of material fact exist. Once this has been accomplished, the burden then shifts to the non-moving party to prove, by more than mere denial and speculation, that a genuine issue does exist. Having determined that genuine issues of material fact do not exist, the court must then determine whether the moving party is entitled to judgment as a matter of law. We review the legal determinations made by a district court as to whether the court erred.”
Balyeat Law, P.C. v. Hatch (1997), 284 Mont. 1, 3, 942 P.2d 716, 717 (quoting Bruner v. Yellowstone County (1995), 272 Mont. 261, 264-65, 900 P.2d 901, 903). In this case, the parties do not dispute any issues of material fact. Fisher disputes only the District Court’s legal determination that the final judgment in his first action is res judicata as to the subsequent UCPA claim.
DISCUSSION
¶9 Did the District Court err in granting summary judgment to State Farm on the basis that Fisher’s UCPA claim is barred by the doctrine of res judicata?
¶10 The doctrine of res judicata operates to preclude a party from relitigating claims which have been litigated in a former action. Balyeat, 284 Mont. at 3, 942 P.2d at 717. It is well-established that a resolved claim is res judicata as to subsequent claims if the following four criteria are met: (1) the parties are the same; (2) the subject matter is the same; (3) the issues are the same and relate to the same subject matter; and (4) the capacities of the parties are the same in reference to the subject matter and issues. Balyeat, 284 Mont. at 4, 942 P.2d at 717; Butler v. Colwell, 1998 MT 241, ¶ 17, 291 Mont. 134, ¶ 17, 967 P.2d 779, ¶ 17; Hollister v. Forsythe (1996), 277 Mont. 23, 27, 918 P.2d 665, 667. Moreover, res judicata will also bar an action for a claim which a party had an opportunity to litigate in a prior action. Balyeat, 284 Mont. at 3, 942 P.2d at 717. The “opportunity to litigate” factor does not change the res judicata criteria, but merely makes the res judicata doctrine applicable — if the criteria have been satisfied — to claims which could have been litigated but were not. See, e.g., Butler, ¶ 17.
¶ 11 The District Court concluded that Fisher had the opportunity to litigate his UCPA claim in his first action and, as a result, his second action was barred by res judicata. Fisher asserts that the court erred in so concluding because the res judicata criteria are not met in this case.
*205¶12 Fisher concedes that the first res judicata criterion — that the parties be the same — is met here. With regard to the remaining three criteria, however, he contends that his first action against State Farm was a “coverage” action in which the subject matter was the property destroyed in the fire, the issue was whether the property was covered under the terms of the insurance policy, resolution of the issue depended only on actions and commitments by State Farm and its agent occurring before the fire, and the relationship of the parties was that of buyer and seller of insurance. In contrast, according to Fisher, the subject matter of his second action is insurance claim handling, the issue is whether State Farm violated its statutory duties under the UCPA, resolution of the issue depends only on actions taken after the fire occurred and the parties’ relationship is the fiduciary relationship of insurer and insured. He argues, therefore, that there is no identity of subject matter, issues and relationship of the parties.
¶13 With regard to the second criterion, that the subject matter of the action be the same, it is clear that both of Fisher’s complaints arose as the result of the fire which destroyed Fisher’s property, Fisher’s insurance policy with State Farm and State Farm’s actions in denying coverage. Fisher’s complaint — as well as the subsequent pretrial order — in the first action alleged, inter alia, that State Farm wrongfully refused to pay for the property destroyed in the fire and was liable to Fisher for damages resulting from “the subject fire and the denial of coverage ...” (Emphasis added.) Clearly, and contrary to Fisher’s assertions, his complaint included allegations that he was injured by actions of State Farm occurring subsequent to the fire.
¶14 Similarly, at least some of the issues were the same and related to the same subject matter in both actions, thus meeting the third criterion: Fisher’s original complaint sought to hold State Farm liable for damages resulting from the fire and for wrongful denial of coverage under his policy thereafter under “any applicable legal theories.” This language in Fisher’s original complaint clearly was broad enough to encompass any theory of liability relating to State Farm’s post-fire actions in denying coverage, including the statutory UCPA claim. Finally, the capacities of Fisher and State Farm were the same in reference to the subject matter and the issues in both actions, in that Fisher was the insured under a State Farm policy and sought to hold State Farm liable in the broadest sense for wrongful denial of coverage. We conclude that the identity of subject matter, issues and relationship of the parties criteria have been met here and that *206Fisher had the opportunity to litigate his UCPA claim in his first action against State Farm.
¶15 Fisher also contends that his UCPA claim was an independent action which, pursuant to the permissive joinder provisions found in § 33-18-242, MCA, and Rule 18(a), M.R.Civ.P., he was not required to join with his coverage action. On this basis, he argues the District Court’s conclusion that res judicata barred his UCPA claim essentially negates these permissive joinder provisions and compels mandatory joinder of otherwise independent causes of action. We disagree.
¶16 We do not suggest that differences did not exist between Fisher’s two actions, that Fisher expressly alleged a UCPA cause of action in his original complaint or that Fisher was required to file his statutory UCPA claim in his original action rather than as an independent cause of action. Indeed, in the latter regard, § 33-18-242, MCA, expressly provides that an insured’s claim against an insurer under the UCPA is an independent cause of action and authorizes — but does not require — an insured to join a UCPA claim with other claims against the insurer. See §§ 33-18-242(1) and (6)(a), MCA. The pertinent facts in the present case, however, are that Fisher’s original complaint included allegations encompassing both pre- and post-fire conduct by State Farm and sought to hold State Farm liable for damages resulting from the fire and for wrongful denial of coverage under a variety of stated contract and tort theories, as well as “any other applicable legal theories.” Under the broad wording of his original complaint, he clearly had the opportunity to litigate the UCPA claim. Had Fisher’s original complaint been more artfully — or less broadly — drafted, a judgment in that action would not — and could not — have barred the second action on res judicata grounds. As that complaint actually was drafted, however, the res judicata criteria are met.
¶ 17 Finally, Fisher argues that State Farm should be estopped from asserting res judicata based on an exception to the application of the doctrine contained in the Restatement (Second) of Judgments § 26 (1982), which precludes assertion of the doctrine when parties “have agreed in terms or in effect that the plaintiff may split his claim, or the defendant has acquiesced therein!.]” He contends that, because State Farm had actual knowledge of — and did not object to — the filing of the complaint in his second action prior to entry of judgment in the first action, it acquiesced in the splitting of his claims. He cites several cases *207from other jurisdictions which have applied this exception and urges us to follow their lead. We decline to do so.
¶18 First, the exception does not appear to apply here since this case does not involve a dispute over whether Fisher could or could not “split” his claims. As mentioned above, Fisher could have pleaded and tried his UCPA claim separately. Thus, this is not a “claim splitting” case but, rather, one in which the original complaint was drafted so broadly that the judgment in that action precluded his second action. ¶19 Moreover, the cases on which Fisher relies for applying the § 26 exception and estopping State Farm from asserting res judicata are readily distinguishable on their facts from the case before us here. In those cases, the party asserting res judicata in the second action had appeared and either filed an answer to the complaint or given formal notice of intent to defend the second action prior to entry of judgment in the first action; at the least, the complaint in the second action had been served on the defendant. See Pagel v. Notbohm (Iowa 1971), 186 N.W.2d 638, 639; Funkhouser v. Hurricane Fence Co. (Tex. App. 1975), 524 S.W.2d 780, 781; Lake v. Jones (Md. App. 1991), 598 A.2d 858, 863; Scott v. Rosenthal (Fla. App. 1960), 118 So.2d 555, 557. Here, on the other hand, State Farm made the offer of judgment in Fisher’s original action prior to being served with the second action and, indeed, Fisher amended his second complaint twice after the entry of judgment in his first action before serving it on State Farm. State Farm included the affirmative defense of res judicata when it answered Fisher’s second complaint and moved for summary judgment on res judicata grounds five days later. Thus, the cases on which Fisher relies in arguing that State Farm is estopped from asserting res judicata are not applicable here.
¶20 Based on the breadth of the language used in Fisher’s first complaint, we conclude that the res judicata criteria are met here and Fisher had the opportunity to litigate his UCPA claim in the first action. As a result, we hold that the District Court did not err in granting summary judgment to State Farm on the basis that Fisher’s UCPA claim is barred by the doctrine of res judicata.
¶21 Affirmed.
CHIEF JUSTICE TURNAGE, JUSTICES LEAPHART and NELSON concur.
